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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  Judge Christine M. Arguello

Criminal Case No. 17-cr-00334-CMA

UNITED STATES OF AMERICA,

              Plaintiff,
v.

MARCO CASTRO-CRUZ,

              Defendant.


             DEFENDANT MARCO CASTRO-CRUZ’S SENTENCING
         MEMORANDUM AND MOTION FOR NON-GUIDELINES SENTENCE


       COMES NOW, the Defendant Marco Castro-Cruz (“Defendant” or “Mr. Castro-Cruz”),

by and through his undersigned counsels Boston H. Stanton, Jr., Esq., and Sean Barrett, Esq.,

hereby submit the following sentencing memorandum to assist this Court in the resolution of

disputed factual and legal issues expected to be raised by the parties at the sentencing hearing

currently scheduled to be held on February 5, 2018.


BACKGROUND

       The Defendant Marco Castro-Cruz is an adult male, 38 years old. Prior to his present

incarceration, the Defendant resided in Arvada, Colorado. He is a citizen of Mexico. Defendant

is in the United States without authorization, and previously has been deported to Mexico. His

principal language is Spanish, and he does not speak more than minimal English. The Defendant

has two dependents, one son and one daughter.

       The prosecution continues to assert Defendant Castro-Cruz has used the alias of “Guero.”

However, in the Hispanic culture this is a common nickname used by many men.              (It is
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equivalent to someone in today’s American culture referring to a man as “dude.”) Hence, the

Defense continues to object to the use in sentencing of any evidence or other information that

pertains only to one “Guero.”

       The Defendant Castro-Cruz has a prior state conviction in 2006 in Arizona for possession

of a controlled substance. As discussed below, the prosecution continues to argue this conviction

is a predicate felony that qualifies for a sentencing enhancement here, a position the Defense

continues to contest, as discussed further below.


ARGUMENT

       The Defense urges the Court to sentence Defendant Castro-Cruz to twenty years

imprisonment for his guilty plea, with credit for time served. Through his guilty plea, Defendant

has accepted responsibility for his conduct.        For the reasons set forth below, the Defense

respectfully requests this Court to reject as inapplicable the varying upward sentencing

adjustments and enhancements the Probation Officer and Government are demanding.


       The Pre-Sentencing Report Addendum Is Unpersuasive

       On January 9, 2018, Josh Roth, the Probation Officer in this matter (“PO”), filed a brief

“Addendum” to his Presentence Investigative Report. (Doc. No. 12.) In this Addendum, the PO

made no effort whatsoever to address in any meaningful way the arguments of the Defense in its

detailed “Objections to Presentence Investigative Report” (Doc. No. 9, “Objections to PSIR”),

filed on December 28, 2017. The Addendum merely dismisses repeatedly the Defense’s factual

arguments without explanation. (Addendum, pp. A-1-2; E.g., PO: E.g., I am not bound by any

Plea Agreement; and (repeatedly) I “respectfully maintain this enhancement is applicable.”) (The



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Government itself filed no objections to the PSIR.)                  This cursory Addendum is hardly a

persuasive basis to reject the Defense’s sentencing positions.


        An Adjustment for Possessing a Firearm Is Improper

        In its never-ending efforts to portray Defendant Marco Castro-Cruz as the modern-day

Al Capone, the Government also claims yet another two-level enhancement for possession of a

firearm is warranted under U.S.S.G. §2D1.1(b)(1). The PO concurs. PSIR, ¶34 p. 10, and

Addendum, p. A-1. However, there is absolutely no basis for this adjustment. The record is

undisputed that when Defendant was arrested on August 23, 2013 and his vehicle was searched,

no firearm was found. Castro-Cruz was arrested only for driving without a license and proof of

insurance, and for following too closely. No firearm was found on Castro-Cruz’s possession, nor

in his vehicle. Following this arrest, the Defendant was deported to Mexico. Similarly, the

second time Defendant was arrested on October 14, 2014, during the execution of a search

warrant, no weapon was found in the apartment (#3B at 5380 Zuni Street in Denver) in which he

was apprehended.

        The sole basis for the government’s and PO’s proposed firearms possession enhancement

is that on May 7, 2014, investigators found four firearms when executing a search warrant at an

apartment located at 9151 Cyprus Drive in Thornton, Colorado. Traces of the Defendant’s DNA

reportedly were found on one of these weapons (a Smith & Wesson 9 mm pistol). 1 Defendant

Castro-Cruz was not present at this apartment during this search (indeed, was in Mexico). This


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             The firearms were sent to the Denver Police Crime lab for DNA testing. Three of the weapons were
found to have mixtures of at least three people on them. One of the weapons was found to have a mixture of at least
four persons. On one of the weapons containing a mixture of at least three persons (a Smith & Wesson 9 mm
pistol)., there was a “partial major DNA profile” consistent with the Defendant’s DNA profile. Statistical analysis
suggested that the results were “extremely strong support” for the claim that the Defendant’s DNA was on the
weapon (along with other persons’ DNA). The Defendant’s DNA was not found to be consistent with the various
persons DNA found on the other weapons.
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search and seizure occurred eight months after the Defendant’s August 23, 2013 arrest and

ultimate deportation. As the Defense explained in its Objections to the PSIR, nothing in the

discovery suggests Defendant Castro-Cruz had any comings-and-goings at the 9151 Cyprus

location since his arrest on August 23, 2013, and eventual deportation. Objections to PSIR, p. 3.

       As the Defense’s Objections to the PSIR explain, no information suggests law

enforcement, codefendants or confidential informants observed Defendant Castro-Cruz to be in

possession of a firearm during the conspiracy the government has pursued. Cases relying on

hearsay evidence to uphold a sentencing enhancement have all relied upon officer and

confidential informant hearsay. E.g., United States v. Bowman, 926 F.2d 380 (4th Cir. 1991);

United States v. Ogbonna, 184 F.3d 447 (5th Cir. 1999); and United States v. Miller, 910 F.2d

1321 (6th Cir. 1990). At the sentencing hearing, unless the government is able to offer such

testimony – or evidence regarding how the trace DNA came to be on the weapon – it cannot

meet its burden of proof to sustain an enhancement for possession of a firearm.

       Defendant Castro-Cruz further objects to the Court applying the two-level enhancement

pursuant to U.S.S.G. §2D1.1(b)(1) for possession of a dangerous weapon because the

Government has the initial burden of proving possession of a weapon for this enhancement by

preponderance of the evidence. United States v. Pompey, 264 F.3d 1176, 1180 (10th Cir. 2001).

Specifically, the Government must establish that a temporal and spatial relationship existed

between the weapon, the drug trafficking activity, and the defendant. Pompey, 264 F.3d at 1180.

Even if the Government satisfies this initial burden, the Defendant may overcome this burden

upon a showing “that it is clearly improbable the weapon was connected with the offense.” Id. at

1181. In a conspiracy case, the Government is not required to prove that a defendant personally



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possessed the firearm.   United States v. Smith, 131 F.3d 1392, 1400 (10th Cir. 1997). A

sentencing court may “attribute to a defendant weapons possessed by his codefendants if the

possession of a weapon was known to the defendant or reasonably foreseeable by him.” United

States v. McFarlane, 933 F.2d 898, 899 (10th Cir. 1991). No one can foresee what someone

would or would not do or engage in after an eight month absence.


               Standard of Proof

       The Federal Sentencing Commission recognizes that, because of the impact discrete

factual determinations have on the guideline range, “[r]eliable fact-finding is essential to

procedural due process and to the accuracy and uniformity of sentencing.” USSG Ch.6, Pt.A

(intro. comment.) A court may consider any information that “has sufficient indicia of reliability

to support its probable accuracy.” §6A1.3(a). The commentary to policy statement §6A1.3

leaves to the court’s discretion the degree of formality necessary to resolve sentencing disputes.

It recognizes that, while “[w]ritten statements of counsel or affidavits of witnesses” may often

provide an adequate basis for sentencing findings, “[a]n evidentiary hearing may sometimes be

the only reliable way to resolve disputed issues.” §6A1.3, p.s., comment. para. 1. The

Commission suggests that the standard of proof for sentencing factors is a preponderance of the

evidence. §6A1.3, p.s., comment. para. 3. Courts are divided over whether a higher standard may

be required if a particular fact determination has a disproportionate effect on the sentence

imposed. Particular guidelines may require a higher standard of proof in specific contexts. See,

e.g., USSG §3A1.1(a) (to increase offense level for hate-crime motivation, court must find

supporting facts beyond a reasonable doubt). At a minimum, evidence that does not make

something “more likely than not,” cannot be used to sustain a finding that a defendant possessed

a firearm. Section 2D1.1(b)(1).
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                  Touch DNA

       It is well recognized in forensic DNA research that a person’s DNA can being present on

an item without them having any direct contact with the item. This is commonly referred to a

“secondary transfer.” A recent study published in the Journal of Forensic Sciences, arguably the

premier American Journal on all forensic testing, in discussing a study of DNA transfer

cautioned that:

       Observing a … major component (of a mixture) deduced to a single source together
       with a discriminating statistical calculation could lead investigators to believe that the
       source of the DNA profile was the individual who directly handled the object and was the
       perpetrator of the crime. If these results were presented during a trial as forensic
       evidence, they would be difficult to dispute. Data obtained from (this study) suggest(s)
       that individuals can have their DNA deposited on an item in sufficient quantities to be the
       only contributor or major contributor identified without ever coming into direct contact
       with the object.

       Cale, et. al., J Forensic Sci, 2015 (copy attached).

       The Cale study simply confirmed what was already shown in substantial published

research. In a meta-study surveying all secondary transfer research published in 2013, the author

provided a long list of conclusions that could not be drawn from a finding of a person’s profile in

a mixture on an item. This included that “ (i)t is not possible to use the amount of DNA

recovered from an item of interest to inform whether the DNA was deposited by direct contact or

indirect transfer,” Georgina Meakin, Allan Jamieson, Forensic Science International: Genetics 7

(2013) 434-443. (Copy attached).


                  The Opinions of Shawn O’Toole

       Mr. O’Toole is the Denver Crime Lab forensic scientist who did the analysis in this case.

In an interview conducted October 25, 2017, Mr. O’Toole informed counsel of the following:


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       1. Even though a profile consistent with the defendant’s profile was on the one gun, at

           least two other persons’ profiles were also present.

       2. Mr. O’Toole could not say whether the defendant’s DNA got onto the gun by a

           primary or secondary transfer. He could not say whether one method of transfer was

           more likely than the other to have occurred.

       3. The fact that there was more of the defendant’s DNA present, as noted in the Meakin

           article, did not make it more likely than not that he directly deposited the DNA.

       4. There is no way to establish when DNA was transferred to an item. The DNA found

           on the guns in this case could have been placed their years before.


       Mr. Castro-Cruz contends the Government has not met its initial burden because it has

failed to establish a connection between the weapon and the Defendant.           Specifically, the

Government has failed to show possession of the firearm by Mr. Castro-Cruz. Further, the

Government has failed to show that any possession of a weapon was reasonably foreseeable by

him.

       Mr. Castro-Cruz acknowledges that the Government need not prove actual possession of

the weapon in order for this enhancement to apply, and that constructive possession is sufficient.

However, Mr. Castro-Cruz contends that the Government has failed to show even constructive

possession of the weapon by Mr. Castro-Cruz. Actual possession of a firearm exists when a

person has direct physical control over a firearm at a given time. United States v. Bowen, 437

F.3d 1009, 1017 (10th Cir. 2006). Constructive possession exists when a person “knowingly

holds the power and ability to exercise dominion and control over [a firearm.]” United States v.

Lopez, 372 F.3d 1207, 1211 (10th Cir. 2004).


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       When a defendant has exclusive possession of a premises where a firearm is found,

knowledge, dominion, and control can be inferred. United States v. Avery, 295 F.3d 1158, 1177

(10th Cir. 2002). However, when “two or more people occupy a given space . . . the government

is required to meet a higher burden in proving constructive possession.” United States v. Michel,

446 F.3d 1122, 1128 (10th Cir. 2006). In joint occupancy cases, knowledge, dominion, and

control may not be inferred simply because of a defendant’s proximity to a firearm. Rather, the

government must present evidence to show some connection or nexus between the defendant and

the firearm. Michel, 446 F.3d at 1128.

       In the case of United States v. Colonna, 360 F.3d 1169, 1179 (10th Cir. 2004), the Court

held that knowledge and access to a firearm are required to prove that a defendant knowingly

held the power to exercise dominion and control over a firearm. Proximity to a firearm alone is

insufficient to establish dominion and control over a firearm in a joint occupancy case. United

States v. Hishaw, 235 F.3d 565, 572 (10th Cir. 2000), citing United States v. Reece, 86 F.3d

994, 996 (10th Cir. 1996). In the present case, Mr. Castro-Cruz was in Mexico during the

execution of the search warrant on May 7, 2014, so it is undisputed that Mr. Castro-Cruz was not

in physical possession of the firearm when the search warrant was executed. Moreover, in this

matter investigators identified various co-defendants of Mr. Castro-Cruz who were present at or

traveling to and from the 9151 Cypress residence. Any of these (and probably other) individuals

could have been responsible for the firearms the agents discovered at the Cypress location.

       The Defense is unaware of any evidence identifying Defendant Castro-Cruz’s

fingerprints as any prints that may have been found on the four firearms recovered at 9151

Cyprus Drive. According to the government’s disclosures in this matter, investigators apparently



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submitted 57 items of physical evidence to the FBI for fingerprint analysis. It does not appear

that any of these 57 items were a firearm.

       The absence of fingerprints aside, there is no other evidence Defendant Castro-Cruz ever

saw or handled the weapon at issue. The Government’s reliance that Mr. Castro-Cruz’s DNA

was found on the weapon must fail because it is undisputed there is no way to determine how

long that has been there, how it got on the weapon, who put it there or that it proves that he ever

seen or touched the weapon/gun. Further, there is no evidence that Mr. Castro-Cruz ever knew

of the existence of, or use of, a weapon in connection with drug dealing.            None of the

surveillance videos showed the presence of a weapon or even Mr. Castro-Cruz present at this

address. None of the purchasers of drugs mentioned anything about the possession of a weapon.

Therefore, nothing in the offense conduct would allow the Court to infer that the weapon found

at a residence eight months after his departure was reasonably foreseeable to Mr. Castro-Cruz.

       Because the Government has not met its initial burden required for the Court to impose

this enhancement, Defendant Castro-Cruz requests the Court sustain this objection at sentencing

and decline to apply a two-level enhancement pursuant to U.S.S.G. §2D1.1(b)(1).


       An Enhancement for Maintaining a Drug-Involved Premises Is Unavailable

       The Defendant continues to oppose the PO’s proposed two-level enhancement under

U.S.S.G. §2D1.1(b)(12) on the grounds Defendant Castro-Cruz supposedly maintained a

premises for the purpose of manufacturing or distributing controlled substances (“drug-involved

premises”). PSIR, ¶35, p. 10. In its Addendum, the PO “doubles-down” on this drug-involved

premises conclusion, without specifically responding to the Defense’s Objections on this issue.

Addendum, p. A-2.


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        Application Note 17 to §2D1.1 states “Among the factors the court should consider in

 determining whether the defendant ‘maintained’ the premises are (A) whether the defendant held

 a possessory interest in (e.g., owned or rented) the premises and (B) the extent to which the

 defendant controlled access to, or activities at, the premises.” There is no information in

 discovery which would suggest that Mr. Castro-Cruz owned, leased, rented, or lived at 9151

 Cypress. In fact, the Defendant was in Mexico at the time investigators searched the Cypress

 apartment.


        The Prosecution Has Not Shown Defendant Played Any “Aggravating
        Role” in the Drug Conspiracy

        At the sentencing hearing the Defense strenuously objects to any characterization of

 Marco Castro-Cruz as playing any “aggravating” or “leadership role” in the drug trafficking

 organization being pursued by the Government.           See U.S.S.G. §3B1.1(c).     The probation

 department maintains that Mr. Castro-Cruz should receive a 4-level upward adjustment, see ¶ 38,

 p. 12 of PSIR, because he was an organizer or leader of a criminal activity that involved five or

 more participants or was otherwise extensive. The Defendant disagrees. There does not appear

 to be information in the discovery that suggests that Mr. Castro-Cruz recruited accomplices, was

 responsible for the planning and organizing of the conspiracy, claimed a larger share of the fruits

 of the crime, or controlled others in the conspiracy.

          The Commentary to § 3B1.1 lists various considerations the sentencing court "should"

 take into account in assessing the defendant's leadership role, including

      "the . . . exercise of decision making authority, the nature of participation in the
       Commission of the offense, the recruitment of accomplices, the claimed right to a
       larger share of the fruits of the crime, the degree of participation in planning or
       organizing the offense, the nature and scope of the illegal activity and the degree of
       control and authority exercised over others."

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           In considering these factors, the sentencing court should remain conscious of the fact

 that "[T]he gravamen of this enhancement is control, organization, and responsibility for the

 actions of other individuals." United States v. Albers, 93 F.3d 1469, 1488 (10th Cir. 1996).

 Whether or not a defendant is an organizer, leader, manager or supervisor and whether the activity

 involved five or more participants or was otherwise extensive are viewed as factual questions to be

 resolved by the sentencing court. United States v. Fuentes-Moreno, 895 F.2d 24 (1st Cir. 1990); and

 United States v. Thomas, 870 F.2d 174 (5th Cir. 1989). The adjustment should not be based on a

 hunch or instincts, United States v. Ortiz, 966 F.2d 707 (1st Cir. 1992), and it should not be based on

 unsworn information in the presentence report.

        The Plea Agreement itself contains no factual basis for any such a conclusory assertion.

 Indeed, as the prosecution must concede, the Defendant was absent from the United States from

 September 26, 2013, through September/October, 2014. This is a strong indicator Castro-Cruz

 was at most a minor player in the organization. Otherwise, his absence would have been fatal or

 at a minimum very harmful to the organization’s continued operation. Yet, as the Government

 admits, that organization continued.


        The PO’s Proposed Enhancement for a Pattern of Criminal Conduct Engaged
        In as a “Livelihood” Is Unwarranted

        The government asserts in the Plea Agreement that a 2-level enhancement is warranted

 (while the PSIR suggests a 4-level enhancement) because Mr. Castro-Cruz should receive an

 aggravating role in the offense adjustment under §3B1.1 (discussed previously) and that he

 committed the offense as part of a pattern of criminal conduct engaged in as a livelihood. See ¶

 36, p. 11 of PSIR The definitions of “pattern of criminal conduct” and “engaged in as a

 livelihood” are defined under §4B1.3. “Pattern of criminal conduct means “planned criminal

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 acts occurring over a substantial period of time. Such acts may involve a single course of

 conduct or independent offenses.”

          In this case Mr. Castro-Cruz is charged in a conspiracy which spans from October 1,

 2012, through October 20, 2014. In addition, Mr. Castro-Cruz was deported from the United

 States following his arrest on August 23, 2013, and remained in Mexico. This “period of time”

 does not appear to rise to the level of “substantial period of time as required by the Application

 Note.”

          “Engaged in as a livelihood” means that (A) the defendant derived income from the

 pattern of criminal conduct that in any twelve-month period exceeded 2,000 times the then

 existing hourly minimum wage under federal law; and (B) the totality of circumstances shows

 that such criminal conduct was the defendant’s primary occupation in that twelve-month period.

 The discovery does not reflect how much Mr. Castro-Cruz earned during a twelve-month period

 of time to warrant this adjustment

          In its Addendum, the PO claims it now agrees with the Government’s position that an

 additional upward two-level adjustment in sentencing is warranted because Defendant

 Castro-Cruz supposedly engaged in criminal conduct “as a livelihood,” pursuant to U.S.S.G.

 §2D1.1(b)(15)(E). Addendum, p. 1. However, the Defendant has pleaded guilty to only two

 offenses: one controlled substance violation, and one money-laundering offense. And the

 government can point to only one prior conviction some twelve years ago which (as discussed

 below) itself should not qualify as a sentencing-enhancement factor.

          Further, the “criminal livelihood” adjustment of §2D1.1(b)(15)(E) is available only where

 an “aggravating role” adjustment is established. As we have shown above, the “aggravating



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 role” or leadership adjustment is unwarranted here. Hence, the “criminal livelihood” also is

 unavailable to the prosecution in its attempt to “pile on” here.

        There simply is an inadequate basis for any “criminal livelihood” enhancement here.


 Request for Statutory Sentence

        On January 12, 2005, the Supreme Court ruled that its Sixth Amendment holding in

 Blakely v. Washington, 124 S. Ct. 2531 (2004) and Apprendi v. New Jersey, 530 U.S. 466 (2000)

 applies to the Federal Sentencing Guidelines. United States v. Booker, 125 S. Ct. 738, 756

 (2005). The Court further found those provisions of the federal Sentencing Reform Act of 1984

 that make the Guidelines mandatory, 18 U.S.C. § 3553(b)(1) or which rely upon the Guideline’s

 mandatory nature, 18 U.S.C. § 3742(e), incompatible with its Sixth Amendment holding.

 Booker, 125 S. Ct. at 756.      Accordingly, the Court severed and excised those provisions,

 “mak[ing] the Guidelines effectively advisory.” Id. at 757.

        Instead of being bound by the Sentencing Guidelines, the Sentencing Reform Act, as

 revised by Booker,

        requires a sentencing court to consider Guidelines ranges, see 18 U.S.C.A. § 3553(a)(4)
        (Supp.2004), but it permits the court to tailor the sentence in light of other statutory
        concerns as well, see § 3553(a).


 Booker, 125 S. Ct. at 757. Thus, under Booker, sentencing courts must treat the guidelines as just

 one of a number of sentencing factors set forth in 18 U.S.C. § 3553(a).

        The primary directive in Section 3553(a) is for sentencing courts to “impose a sentence

 sufficient, but not greater than necessary, to comply with the purposes set forth in paragraph 2.”

 Section 3553(a)(2) states that such purposes are:

        (A) to reflect the seriousness of the offense, to promote respect for
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        the law, and to provide just punishment for the offense;

        (B) to afford adequate deterrence to criminal conduct;

        (C) to protect the public from further crimes of the defendant; and

        (D) to provide the defendant with needed educational or vocational
        training, medical care, or other correctional treatment in the most
        effective manner.

 In determining the minimally sufficient sentence, § 3553(a) further directs sentencing courts to

 consider the following factors:

        1) “the nature and circumstances of the offense and the history and characteristics of the
        defendant” (§ 3553(a)(1);

        2) “the kinds of sentences available” (§ 3553(a)(3);

        3) “the need to avoid unwarranted sentence disparities among defendants with similar
        records who have been found guilty of similar conduct (§3553(a)(6); and

        4) “the need to provide restitution to any victims of the offense.” (§ 3553(a)(7)).


        Other statutory sections also give the district court direction in sentencing. Under 18

 U.S.C. § 3582, imposition of a term of imprisonment is subject to the following limitation: “in

 determining whether and to what extent imprisonment is appropriate based on the Section

 3553(a) factors, the judge is required to “recogniz[e] that imprisonment is not an appropriate

 means of promoting correction and rehabilitation”” (emphasis added).

        Under 18 U.S.C. § 3661, “no limitation shall be placed on the information concerning the

 background, character, and conduct of [the defendant] which a court of the United States may

 receive and consider for the purpose of imposing an appropriate sentence” (emphasis added).

 This statutory language certainly overrides the (now-advisory) policy statements in Part H of the

 sentencing guidelines, which list as “not ordinarily relevant” to sentencing a variety of factors

 such as the defendant’s age, educational and vocational skills, mental and emotional conditions,
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 drug or alcohol dependence, and lack of guidance as a youth. See U.S.S.G. § 5H1. See also

 United States v. Nellum, 2005 WL 300073, 2005 U.S. Dist. LEXIS 1568 (N.D. Ind. Feb. 3, 2005)

 (Simon, J.) (taking into account fact that defendant, who was 57 at sentencing, would upon his

 release from prison have a very low likelihood of recidivism since recidivism reduces with age;

 citing Report of the U.S. Sentencing Commission, Measuring Recidivism: the Criminal History

 Computation of the Federal Sentencing Guidelines, May 2004); United States v. Naylor, 359 F.

 Supp. 2d 521, (W.D. Va. 2005) (Jones, J.) (concluding that sentence below career offender

 guideline range was reasonable in part because of defendant’s youth when he committed his

 predicate offenses – he was 17 – and noting that in Roper v. Simmons, 125 S. Ct. 1183, 1194-96

 (2005), the Supreme Court found significant differences in moral responsibility for crime

 between adults and juveniles).

        The directives of Booker and § 3553(a) make clear that courts may no longer uncritically

 apply the guidelines. Such an approach would be

        “inconsistent with the holdings of the merits majority in Booker, rejecting mandatory
        guideline sentences based on judicial fact-finding, and the remedial majority in Booker,
        directing courts to consider all of the § 3353(a) factors, many of which the guidelines
        either reject or ignore.” United States v. Ranum, 353 F. Supp. 2d 984,985-86 (E.D. Wisc.
        Jan. 19, 2005) (Adelman, J.).


        As another district court judge has correctly observed, any approach which automatically

 gives “heavy” weight to the guideline range “comes perilously close to the mandatory regime

 found to be constitutionally infirm in Booker.” United States v. Jaber, 362 F. Supp. 2d 365, (D.

 Mass. 2005) (Gertner, J.). See also United States v. Ameline, 400 F.3d 646, 655-56 (9th Cir. Feb.

 9, 2005) (advisory guideline range is “only one of many factors that a sentencing judge must

 consider in determining an appropriate individualized sentence”), reh’g en banc granted, 401

 F.3d 1007 (9thCir. 2005).
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        Justice Scalia explains the point well in his dissent from Booker’s remedial holding:

        Thus, logic compels the conclusion that the sentencing judge, after considering
        the recited factors (including the guidelines), has full discretion, as full as what he
        possessed before the Act was passed, to sentence anywhere within the statutory
        range. If the majority thought otherwise – if it thought the Guidelines not only had
        to be ‘considered’ (as the amputated statute requires) but had generally to be followed
        – its opinion would surely say so.

 Booker, 125 S. Ct. at 791 (Scalia, J., dissenting in part). Likewise, if the remedial majority

 thought the guidelines had to be given “heavy weight,” its opinion would have said so. The

 remedial majority clearly understood that giving any special weight to the guideline range

 relative to the other Section 3553(a) factors would violate the Sixth Amendment.

        In sum, in every case, a sentencing court must now consider all of the §3553(a) factors,

 not just the guidelines, in determining a sentence that is sufficient but not greater than necessary

 to meet the goals of sentencing. And where the guidelines conflict with other sentencing factors

 set forth in § 3553(a), these statutory sentencing factors should generally trump the guidelines.

 See United States v. Denardi, 892 F.2d 269, 276-77 (3d Cir. 1989) (Becker, J, concurring in part,

 dissenting in part) (arguing that since § 3553(a) requires sentence be no greater than necessary to

 meet four purposes of sentencing, imposition of sentence greater than necessary to meet those

 purposes violates statute and is reversible, even if within guideline range).


                         Application of the Statutory Sentencing Factors

                                      to the Facts of this Case

        In the present case, the following factors must be considered when determining what type

 and length of sentence is sufficient, but not greater than necessary, to satisfy the purposes of

 sentencing:



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 1. The Nature and Circumstances of the Offense and the History and Characteristics of the

 Offender

        (a) Nature and Circumstances of Offense

        In this instance, admittedly Mr. Castro-Cruz was involved in the distribution of heroine.

 However, he never employed violence in any of his illegal activities. Defendant Marco-Castro

 Cruz is a 38 year old Mexican citizen and father of two minor children, a daughter, Cassandra

 age 4, and son, Jaciel age 5, both of whom currently reside in Mexico. Defendant has taken

 responsibility and admitted to the offense conduct as alleged in Count 1 of the Indictment

 arising out of District of Wyoming,       a violation of 21 USC §846,841(a)(1) and (b)(1)(C),

 Conspiracy to Distribute Heroin Resulting in Death. Unfortunately, this offense of conviction

 resulted in the unintended death of Kaleb Skog in Laramie, Wyoming. As the recommendation

 in Defendant’s Presentence Report (PSR) directly acknowledges however, the instant offense

 was not violent and Defendant did not directly cause the victim’s death. In short, this was a very

 unfortunate and unintended result


        (b) History and Characteristics of Mr. Castro-Cruz

        As noted in the presentence report, Mr. Castro-Cruz is generally a law abiding citizen

 except for a prior drug related and traffic charges and the present conspiracy. After obtaining a

 6th grade level of education, he left school to began working. While living in the United States,

 the defendant had the following jobs: worked in fields, worked in a slaughterhouse and a pig

 farm somewhere in the Carolinas, picked tomatoes in California, painting, carpentry, mowed

 lawns, and assisted a mechanic. While in Mexico, the defendant primarily did agricultural work

 such as planting corn. To Mr. Castro-Cruz’s credit, there is nothing in his background to

 indicate that he is a violent person and used firearms connected with any of his illegal acts. Mr.
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 Castro-Cruz was a person who dealt in a illegal substance, but never resorted or employed

 violence in his dealings. Upon release from prison, he plans to live with his spouse, Ms. Espinosa

 Sagaster and their daughter in Sinaloa.

         Mr. Castro-Cruz has committed a serious offense for which he has accepted full

 responsibility. He is aware of the consequences he faces as a result. The issues that have plagued

 him in this case are “taking the fall” and comprehending the federal sentencing scheme. He

 acknowledges his involvement, admits his guilt, and wants to be sentenced in a way that

 correlates to his true involvement and role rather than based on mischaracterizations of him.


 2. The Need for the Sentence Imposed To Promote Certain Statutory Objectives:

         (A) to reflect the seriousness of the offense, promote respect for the law, and provide

         just punishment for the offense

         Twenty years is “sufficient” for a young father who has never been to prison. Mr. Castro-

 Cruz has never been sentenced to prison. In fact, the only custodial sentence that he has ever

 received was a six month sentence handed down after the offense conduct in Arizona that

 occurred in 2000. As several courts around the country have recognized, the sentencing goals of

 deterrence and just punishment can be served by a sentence that is significantly below guidelines

 if the defendant has never served much time.

         In United States v. Qualls, the defendant was a career offender in a drug trafficking case

 who had received prison sentences of 14 months and 20 months in prior drug trafficking cases.

 373 F. Supp. 2d 873, 877 (E.D. Wis. 2005). He was considered to be “in the second lowest tier”

 of a 150-kilogram cocaine conspiracy, “with relevant conduct of 3.5 to 5 kg of cocaine.” Id. at

 875. The court justified subtracting 28 months from his guidelines4 by explaining, among other

 things, that:
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        [i]t is appropriate for a court, when considering the type of sentence necessary to
        protect the public and deter future misconduct, to note the length of any previous
        sentences imposed. Generally, a lesser period of imprisonment is required to
        deter a defendant not previously subject to lengthy incarceration than is
        necessary to deter a defendant who has already served serious time yet continues to
        re-offend.

 Id. at 877 (emphasis added). Because his guidelines recommended a sentence “nearly 10 times

 higher than any previous, unrelated sentence,” such a sentence “was greater than necessary.” Id.

        In United States v. Mishoe, the defendant was arrested while in possession of

 approximately 300 vials of crack cocaine. 241 F.3d 214, 215 (2d Cir. 2001). He had three prior

 drug felony convictions, where he had been sentenced to indeterminate terms of two to four

 years, 18 months to three years, and 30 months to five years. Id. at 216. The Second Circuit

 vacated a sentence, but explained that the district court would be permitted to depart downwards

 on remand for a variety of reasons, including the ratio between his prior sentences and the

 guidelines recommendation. Id. at 219. The Second Circuit explained that:

        a major reason for imposing an especially long sentence upon those who have
        committed prior offenses is to achieve a deterrent effect that the prior punishments
        failed to achieve. That reason requires an appropriate relationship between the
        sentence for the current offense and the sentences, particularly the times served, for
        the prior offenses. If, for example, a defendant twice served five or six years and
        thereafter committed another serious offense, a current sentence might not have an
        adequate deterrent effect unless it was substantial, perhaps fifteen or twenty years.
        Conversely, if a defendant served no time or only a few months for the prior
        offenses, a sentence of even three or five years for the current offense might be
        expected to have the requisite deterrent effect.

 Id. at 220 (emphasis added). See also United States v. Baker, 445 F.3d 987, 992 (7th Cir. 2006)

 (upholding 21-month departure in pornography-distribution case, based on considerations of

 “just punishment and adequate deterrence,” because “a prison term would mean more to Mr.

 Baker than to a defendant who previously had been imprisoned” (citations omitted)). Under



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 the persuasive reasoning of the courts quoted above, a twenty year sentence may well be

 sufficient to fulfill the goals of 18 U.S.C. § 3553(a)(2). Any more is a waste.

        There is no doubt in Mr. Castro-Cruz mind that what he did was wrong and against the

 law. However, he has vowed to never put himself in a position where there is even the possibility

 he may have to go to jail. If Mr. Castro-Cruz is given a prison sentence of 20 years with credit

 for time served, he would be given a chance by the Court to establish a productive and law

 abiding life style upon his release while a still being middle aged man. Any longer of a sentence

 would serve no purpose except to institutionalize Mr. Castro-Cruz and make it extremely

 difficult for him to attempt to re-enter society and become a productive member of society.


        (B) to afford adequate deterrence to criminal conduct

        A 20 year prison sentence does afford adequate deterrence to future criminal conduct by

 Mr. Castro-Cruz. This is a significant amount of incarceration that will deter Mr. Castro-Cruz

 from repeating his mistakes, but will also send a message to others tempted to follow in Mr.

 Castro-Cruz’s lifestyle that they run a significant risk of a lengthy period of incarceration.


        (C) to protect the public from further crimes of the defendant

        A significant prison sentence would be a sufficient safeguard for the public. Mr.

 Castro-Cruz is not a violent person, there are no weapons involved and he is not a danger to

 anyone if he is not selling drugs. It is anticipated that supervised release following a prison

 sentence would carefully monitor and supervisor Mr. Castro-Cruz to protect the public from any

 criminal behavior or relapse on his part.




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        (D) to provide the defendant with needed educational or vocational training,
        medical care, or other correctional treatment in the most effective manner

        The best method for providing Mr. Castro-Cruz with vocational training and substance

 abuse treatment will be the drug program and educational opportunities that he can participate in

 while in prison. Mr. Castro-Cruz is not in need of punishment or separation from society that

 comes with a thirty year sentence; he is in need of education and treatment. Mr. Castro-Cruz is in

 need of gaining the life skill necessary to allow him to become a productive member of society.


 3. The Kinds of Sentences Available

        In Booker, the Supreme Court severed and excised 18 U.S.C. §3553(b), the portion of the

 federal sentencing statute that made it mandatory for courts to sentence within a particular

 sentencing guidelines range. Booker, 125 S. Ct. at 756. This renders the sentencing guidelines

 advisory. Id. Under 18 U.S.C. §3561, this Court does have the discretion to impose a prison

 sentence that is less then what is called for under the sentencing guidelines, but due to the

 mandatory minimum, not less then 20 years.

        Defendant’s 20 years to 23 years imprisonment as contained in his plea agreement results

 in a bottom end sentence of imprisonment which is actually higher than the presumptive

 guideline range of 210-262 months or 17.5 years at the low end, this the result from application

 of a minimum mandatory of 240 months (20 years) pursuant to a 21 USC §841(b)(1)(C)

 conviction. The entirety of Defendant’s prior criminal history calculations are not anticipated to

 exceed more than two criminal history points , at most. Further, the 2 potential criminal history

 points could only result from a prior drug conviction involving less than 7 total grams of

 controlled substance nearly twelve years ago.



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        The US Probation has made a sentencing recommendation of 360 months (to run

 concurrent with the 324 month sentence recommended in 14CR00144-CMA-4.) This is based

 upon purported specific offense characteristics applied by Probation in Defendant’s PSR which

 include allegedly possessing a firearm, maintaining a premises for the purpose of manufacturing

 or distributing a controlled substance and for functioning as a leader. These particular specific

 offense characteristics notably are not readily evident even within the Probation Office’s Offense

 Conduct and Additional Information statements contained the Defendant’s PSR. Rather, what is

 provided is a general description of a Sinoloan drug distribution network and how it is alleged to

 generally operate with regard to drug distribution.


 4. The Sentencing Range Established by the Sentencing Commission

        The probation department has calculated that Mr. Castro-Cruz would have a total offense

 level of 42, criminal histroy category II, resulting in a guideline provision range of a sentence of

 360 months of incarceration to life. In this instance, the guideline range does not adequately

 reflect the Mr. Castro-Cruz’s conduct or personal history. Specifically, it fails to take into

 account the young age of Mr. Castro-Cruz, his personal background and his lack of violence.

 Secondly, the guideline fail to take into consideration many of the mitigating factors listed below

 in this memorandum. As such, none of the issues concerning Mr. Castro-Cruz on an individual

 level are taken into consideration by the sentencing guidelines.


 5. The Need To Avoid Unwarranted Disparities

        The Presentence Report sets forth the kinds of sentences available at Part D. Sentencing

 Options on pages 29 through 32. The Court may look to co-defendant disparity when fashioning

 a reasonable sentence. E.g., United States v. Frias, 521 F. 3d 229 (2d Cir. 2008) (similarities and

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 differences among co-defendants may be considered when imposing a sentence”) (quoting

 United States v. Willis, 476 F.3d 103, 110 (2d Cir. 2007), abrogated on other grounds). After

 Gall [v. United States, 552 U.S. 38 (2007)], “it is clear that codefendant disparity is not a per se

 ‘improper’ factor”).

        This case involves 23 co-defendants, the majority whom have been sentenced.

 Mr. Castro-Cruz anticipates that the government will advocate for a sentence of 23 years. The

 Probation Officer recommends a sentence of 30 years. The stipulated sentencing range in the

 11(c)(1)(C) plea agreement itself (20 - 23 years) is a harsh sentence.

        The sentences suggested by the government and the Probation Office would

 create sentencing disparities between certain co-defendants. He did not cooperate. He is not the

 only defendant who elected not to cooperate. He understands that defendants who cooperate may

 receive lesser sentences. See United States v.Zapata, 546 F.2d 1179 (10th Cir. 2008) (“a

 disparity among co-defendants is justified ‘when sentences are dissimilar because of a plea

 bargain”). But here defendants who did not cooperate received lesser sentences, as well,

 notwithstanding their level of involvement in the offense.

        As stated, arguably two others in this case were in a similar position to Mr. Castro-

 Cruz, that being Mr. Romero and Mr. Sepulveda. Despite the fact that both are considered on or

 at the same level as Mr. Castro-Cruz in their part of the conspiracy, neither of them were charged

 with the gun or saddled with all the guideline enhancments as Mr. Castro-Cruz. Despite the fact

 that there is no evidence that Mr. Castro-Cruz ever used firearms, under the sentencing guideline

 calculations as contained in their Plea Agreement and Statement of Facts Relevant to Sentencing,

 both are facing a significant lighter prison sentence. This is an unwarranted disparity between

 Mr. Castro-Cruz and them and should be adjusted by the Court in giving Mr. Castro-Cruz a

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 prison sentence in line with what is estimated for his codefendants.

        Defendant’s PSR acknowledges that a variance may be warranted and if it were to be

 awarded, it would be appropriate for Mr. Castro-Cruz to receive a variance and concurrent

 sentence with his District of Colorado case close to, but higher than, that of two co-Defendant’s

 in the District of Colorado case, Paul Rubio-Sepulveda and Juan Miguel Espinoza Romero. It

 appears as though co-Defendant Juan Miguel Espinoza-Romero also has a Fed.R.Crim.P

 11(c)(1)(C) Plea Agreement before this Court , the sentencing recommendation contained therein

 being a term of imprisonment between 10-14 years. Co-Defendant Paul Rubio-Sepulveda also

 appears to have a plea agreement entered into, absent specific terms of incarceration being

 recommended although with a minimum mandatory of 10 years being acknowledged as being

 applicable.

        Defendant Castro-Cruz’s plea agreement recommendation of 20-23 year of incarceration,

 concurrent with his District of Colorado case, more than adequately takes into account not only

 his offense conduct in Colorado by comparison to that of his co-Defendant’s but also adequately

 reflects the additional count of conviction arising out of the District of Wyoming making the

 concurrent sentencing recommendation of 20-23 years imprisonment appropriate. In the event

 Defendant Juan Miguel Espinoza-Romero were to receive a 10-14 years sentence, but

 Defendant Castro-Cruz were to receive a concurrent term of 30 years imprisonment as

 recommended in Defendant’s PSR, the result would a sentence which fails to comply with the

 requirements of 18 USC §3553(a)(6) to avoid such disparities.


               Proposed “Statement of Reasons Pursuant to 18 U.S.C. § 3553(c)”

                               for sentence below guideline range.

        There are a number of reasons to sentence Mr. Castro-Cruz to prison sentence that is
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 considerably less then the guideline sentence estimated in the Presentence Report. One such

 reason, is that Mr. Castro-Cruz’s criminal history over-represents the seriousness of his past

 criminal conduct. In the PSR calculation, Mr. Castro-Cruz received 2 criminal history points for

 sale/transport of narcotic drug conviction when he was 21 years old. Mr. Castro-Cruz was very

 young in the 2000 incident. See, ¶ 89 of PSIR.

         In U.S. v. Hammond, 240 F. Supp.2d 872 (E.D. Wisc. 2003) the court, in granting a

 departure from criminal history category III to II, concluded that the defendnat’s criminal history

 was overstated upon consideration of (1) the age of the priors, (2) the defendant’s age at time of

 the priors, (3) whether drug and alcohol use were involved in the priors, (4) the circumstances of

 the prior offenses , (5) the length of the prior sentences, (6) the circumstances of the defendant’s

 life at the time of the priors, and (7) the proximity of the priors to the instant offense. In Mr.

 Castro-Cruz’s case, he was only 21 years old at the time of the prior, the prior took place 17 1/2

 years ago, the length of the sentences was relatively minor (Sentence suspended; 30 months

 Probation with conditions including: Six months jail (credit for three months served)) See also

 U.S. v. Shoupe, 988 F.2d 440, 447 (3d Cir. 1993) ; a court may consider defendant's age and

 immaturity when priors committed in determining that criminal history and U.S. v. Bowser, 941

 F.2d 1019, 1024 (10th Cir. 1991) ; the defendant’s age and close proximity in time between prior

 criminal acts provided proper basis to depart downward from career offender category. Given the

 non-violent nature of Mr. Castro-Cruz’s offenses as well as the above-listed factors, a strict

 application of the guidelines to his case overrepresents his criminal history and likelihood to re-

 offend. Hence, Mr. Castro-Cruz takes the position that there is an over-representation of his

 criminal history and he should be a criminal history category I.

         1.      U.S.S.G. § 4A1.3 provides that "[t]here may be cases where the court concludes

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 that a defendant's criminal history category significantly over-represents the seriousness of a

 defendant's criminal history or the likelihood that the defendant will commit further crimes."

 Departures under section 4A1.3 are a subset of departures under section 5K2.0. United States v.

 Collins, 122 F.3d 1297, 1303 (10th Cir. 1997); United States v. Maldonado-Campos, 920 F.2d

 714, 719 n.2 (10th Cir. 1990). The overstatement of a defendant's criminal history is a "mitigating

 factor" within the meaning of U.S.S.G. § 5K2.0. Collins, 122 F.3d at 1306. Based on this

 standard, Mr. Castro-Cruz asserts that treating him as a category II substantially over-represents

 the seriousness of his prior criminal history.

        2.      Mr. Castro-Cruz admits that his criminal history is nothing to be proud of;

 however, a close and careful review of the criminal history reveals that it is not as bad as it may

 first appear. A number of considerations show that a criminal history category II over-represents

 the seriousness of Mr. Castro-Cruz 's criminal history.

                a.       The Defendant has a criminal history category of II based on 2 criminal

        history points. The Probation officer’s conclusion that Mr. Castro-Cruz is a CHC II rests

        on only one prior conviction:

 Date       Offense                         Conviction             ¶ of PSI          Points Added
 07/13/2000 Sale or Transport of            Felony                 ¶ 89 of PSI             2
            Narcotic Drug


                Mr. Castro-Cruz first notes that two criminal history points are attributable to an

        Arizona conviction in case no. 2000CR014188. Mr. Castro-Cruz does not mean to

        denigrate the seriousness of this offense but to be categorized, as a criminal history II

        based soley on this offense is draconian.

                b.      Further mitigation of Mr. Castro-Cruz 's criminal history is demonstrated


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         by the timing of his prior criminal conduct. With the exception of one traffic offense,

        Mr. Castro-Cruz’s only law enforcement contact was when he was 21 years old. In the

        succeeding 17 ½ years, Mr. Castro-Cruz has not committed any other offenses.

                c.      To add insult to injury, Mr. Castro-Cruz singular conviction aggravates

        his sentence drastically. While this is technically not double counting, it is tantamount to

        the same. It has what counsel terms as the trifecta effect – punishment when you commit

        the offense (state felony offense), punishment as a sentence enhancer (21USC 851)

        increasing the mandatory minimum from 10 to 20 years in federal court (for state felony

        offense) and then further punishment in the criminal history category in federal court (for

        state felony offense).

        3.      Based on all of the above considerations, a criminal history category II over-

 represents the seriousness of Mr. Castro-Cruz 's criminal history. Accordingly, Mr. Castro-Cruz

 requests that the Court depart down one criminal history category and impose a sentence based

 on criminal history category I.

        A second factor in mitigation of Mr. Castro-Cruz’s sentence is his parental responsibility

 to his children. As noted in the PSR, Mr. Castro-Cruz has two children, a daughter with his wife,

 Ms. Evangelina Espinosa Sagaste (age 4), and a son (age 5) from a prior relationship, both of

 which he provided financial child support before his arrest in this matter. Incarcerating Mr.

 Castro-Cruz for an extraordinary amount of time would result in an extraordinary effect on these

 innocent family members. It is important that Mr. Castro-Cruz be able to not only financially

 support his children, but that he be able to provide the appropriate parental guidance to them.

        Another issue in mitigation of Mr. Castro-Cruz’s sentence is the conduct of law

 enforcement in conducting the investigation of Mr. Castro-Cruz. Specifically, Mr. Castro-Cruz

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 was traveling home to Mexico, having withdrawn from the conspiracy and responsibilities taken

 over by someone else, when he was arrested on August 23, 2013 and subsequently deported on

 September 26, 2013. Mr. Castro-Cruz was not in the United States from September 26, 2013 to

 Septmeber/October, 2014. While the government wants to attribute conduct to Mr. Castro-Cruz

 after his withdrawal and absence from not only the conspiracy but the United States, it should be

 disallowed, as it is only mere theory that this was some sort of revolving door. That’s easy to

 theorize in hindsight, but Mr. Castro-Cruz was merely seeking employment when he came to the

 U.S. to earn money for his family while engaging in many different types of employment. See,

 ¶¶¶ 106, 107 & 116 of PSIR.

        A further factor in favor of mitigation of Mr. Castro-Cruz’s sentence is that other

 similarly situated with Mr. Castro-Cruz were not subject to the same severity of the charges or

 guidelines enhancements. As discussed supra the applicable criminal history is such that the

 proposed guideline sentence, which places Defendant on a level with offenders who have more

 serious criminal histories, but face similar sentences, results in unwarranted sentence disparity. A

 CHC I sentence is sufficient but not greater than necessary to comply with the objectives of

 §3553(a)(2).

        Mr. Castro-Cruz maintains that a sentence based on a criminal history category of I

 appropriately considers the guidelines and, more importantly, avoids unwarranted disparities. To

 sentence Mr. Castro-Cruz as CHC II based upon this conviction would result in an unjust disparity

 and result in an unreasonable sentence. This is all the more reason the Court should deviate from the

 guideline sentence and impose an appropriate sentence based on the facts and circumstances of this

 case and this defendant.




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        Secondly, this court should be hesitant, before sentencing Mr. Castro-Cruz so severely

 that it destroys all hope and takes away all possibility of a useful life for Mr. Castro-Cruz.

 Punishment should not be more severe then necessary to satisfy the goals of punishment, see 18

 U.S.C. 3553(a)(2)(A-D). Also see United States v. Carvajal, WL 476125 (S.D.N.Y. 2005). In

 Carvajal, the court applied 18 U.S.C. 3553(a) and sentenced Mr. Carvajal to 168 months, rather

 then the 262-327 months prescribed by the sentencing guidelines. The court based its decision on

 the factors as found in 18 U.S.C. 3553(a), as well as its recognition that to impose such a

 sentence on Mr. Carvajal would cause him to lose all hope and never become rehabilitated,

 which is one of the goals of sentencing. This is equally true in Mr. Castro-Cruz’s case. If the

 court imposes 30 years on Mr. Castro-Cruz, it would be such an excessive sentence that would

 destroy all of Mr. Castro-Cruz’s hope and take away all possibility of a useful life. It would

 crush his spirit and destroy his will to become a productive member of society. There simply is

 no reason to incarcerate Mr. Castro-Cruz longer then 20 years and a multitude of reasons to

 sentence him to 20 years and allow him to become a productive member of society while he is

 still a middle age man. As noted above, Mr. Castro-Cruz is a non-violent person and has a

 relatively minor criminal history. He is a family man with family responsibilities. His personal

 background is one of agriculture and farming. For whatever reason, he is being treated in an

 unequal fashion as compared to those with equal involvement in this case. Given the nature of

 the crime itself, the relative involvement by Mr. Castro-Cruz and his lack of violence, a 20 year

 prison sentence best fits this case and is appropriate for Mr. Castro-Cruz.




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    A VARIANCE TO THE BOTTOM OF THE STIPULTED RANGE PURSUANT TO

               THE RULE 11(c)(1)(C) PLEA AGREEMENT IS WARRANTED

        Based on the foregoing, a variance to the bottom of the stipulated range pursuant to the

 parties’ Rule 11(c)(1)(C) Plea Agreement is warranted and appropriate. Even when the

 Sentencing Guidelines were mandatory, sentencing courts were to treat those before them as

 individuals. See Koon v. United States, 518 U.S. 81, 113 (1996) (“It has been uniform and

 constant in the federal judicial tradition for the sentencing judge to consider every convicted

 person as an individual and every case as a unique study in the human failings that sometimes

 mitigate, sometimes magnify, the crime and the punishment to ensue.”) Subsequent case law and

 the command of 18 U.S.C. § 3553 to impose a sentence that is “sufficient, but not greater than

 necessary,” provide this Court with greater latitude to impose a sentence that fits the crime and

 the person before it. Marco Castro-Cruz, therefore, respectfully requests this Court accept the

 Plea Agreement, exercise its discretion and grant a downward variance to the bottom of the

 parties’ stipulated range in the Plea Agreement.


                                       18 USC §3553(b)(1)

        In the event the Court were to apply any or all of the specific offense characteristics

 recommended by the Defendant’s PSR, and above Defendant’s otherwise applicable the Base

 Offense Level of 38, a variance downward to 20-23 years of imprisonment concurrent with

 1:14CR00144-CMA-4 would nevertheless be permissible.


 Application of guidelines in imposing a sentence ---

    (1) In general – Except as otherwise provided in paragraph 2, the court shall impose a
        sentence of the kind and within the range referred to in subsection (a)(4) unless the court
        finds there exists an aggravating or mitigating circumstance of a kind, or to a degree, not

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        adequately taken into consideration by the sentencing commission in formulating the
        guidelines that should result in a sentence different than that described.


        Here, Defendant Castro-Cruz was initially indicted in the District of Wyoming on the

 above-noted drug related charges and prior to indictment in the District of Colorado. Following

 his arrest in Colorado, however, Defendant was subsequently detained in Colorado pending the

 Colorado charges, the result being the Wyoming case being placed onto hold. No party, whether

 Defendant, the United States, nor U.S. Probation appear to contend that the charges against

 Defendant Castro-Cruz in both the Districts of Wyoming and Colorado appear to comprise the

 same overall drug conspiracy. Notably, the US Probation office further notes in Defendant’s

 PSR that the instant drug distribution conspiracy offense “is the same drug distribution

 conspiracy charged in Case Number 1:14CR00144 wherein 23 defendants, including the

 defendant, are charged.” The obvious consequences to Defendant Castro-Cruz in facing two

 separate indictments in two separate jurisdictions pertaining to the same drug conspiracy is

 obvious, a conviction in one jurisdiction could result in Defendant being subjected to enhanced

 potential penalties in the other, not to mention well a higher criminal history computation.

        Further, Defendant Castro-Cruz has consented to a Rule 20 Consent to Transfer of

 Case for Plea and Sentence. The result of this consent made by Defendant is that the District of

 Wyoming now need not bring Defendant Castro-Cruz to the District of Wyoming for further

 criminal proceedings resulting from a common conspiracy in Colorado. This result of course is

 avoided by the proposed plea agreement, which benefit’s the District of Wyoming as it pertains

 to the anticipated time and expenses attendant to criminal federal proceedings.




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 CONCLUSION

        Based on the foregoing argument and citations of authority, Mr. Castro-Cruz urges this

 Court at sentencing to adjust the volume of drugs as more accurately identified above.

 Defendant further urges the Court to reject the Government’s numerous arguments for various

 upward adjustments and sentence enhancement to the Defendant’s sentence based on the

 following factors:    possessing a firearm; maintaining a drug-involved premises; being an

 organizer or leader of the criminal activity; engaging in a pattern of criminal activity as a

 livelihood; and having the prior Arizona criminal conviction.

        Instead, the Court should sentence Defendant Castro-Cruz to twenty years imprisonment

 pursuant to the Plea Agreement. Such a sentence is reasonable and just, and would constitute a

 period equivalent to half of the Defendant’s entire lifetime on this planet.

        This sentence of twenty years should be reduced for time served, followed by an

 appropriate period of supervision. Such a sentence is “sufficient, but not greater than necessary,

 to comply with the purposes” of sentencing. All the factors stated above, clearly mitigate and

 outweigh any rigid adherence to the now advisory guidelines allowing this Court to sentence Mr.

 Castro-Cruz to 20 years concurrent.. Accordingly, Mr. Castro-Cruz requests the Court credit him

 for the time spent in custody from October 14, 2014 to February 5, 2018 in order to effectuat the

 intent of the plea, which would be part of the bargained for benefit.

        Dated 22nd day of January, 2018.

                                               Respectfully submitted,
                                               LAW OFFICE OF BOSTON H. STANTON, JR.

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                                                  32
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                                             (303) 394-0204 Telecopier
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                                             ATTORNEY FOR MARCO CASTRO-CRUZ


                                CERTIFICATE OF SERVICE
      I hereby certify that on January 22, 2018, I electronically filed the foregoing
 DEFENDANT MARCO CASTRO-CRUZ’S SENTENCING MEMORANDUM AND
 MOTION FOR NON-GUIDELINES SENTENCE with the Clerk of the Court using the
 CM/ECF system, which will send notification of such filing to the following e-mail addresses:

 Guy Till guy.till@usdoj.gov
 Barbara Skalla barbara.skalla@usdoj.gov

 and I hereby certify that I have mailed or served the document or paper to the following non
 CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
 name:

 Marco Castro-Cruz
 c/o FDC, Englewood, CO
                                             s/Boston H. Stanton, Jr.
                                             LAW OFFICE OF BOSTON H. STANTON, JR.




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